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SOUTHERN DISTR|CT OF FLOR[DA
www.flsb.uscourts.gov / / b

ln re: Case No.

lng/1550 %” v l Chapter 7

Debtor /

DEBTOR’S NOT|CE OF CON|PLIANCE WlTH REQU|REMENTS' FOR
AMEND|NG CREDITOR lNFORMATlON 4 ‘

This notice is being filed in accordance With l_oca| Rules 1007-2(B),`1009-1(D), or 1019'-1(B) upon the filing
of an amendment to the debtor’s listsl schedules or statements, pursuant to Banl<ruptcy Ru|es 1007l 1009,

or 1019. l certify that:

[ ] The paperfiled adds creditor(s) as reflected on the attached list (include name and address of each
' creditor being added). l have:
1. remitted the required fee (unless the paper is a Banl<ruptcy Rule 1019(5) report);
2. provided the courtwith a supplemental matrix disl<ette containing only the added creditors
or electronically uploaded the added creditors in ClVl/ECF; 4
3. provided notice to affected parties including service of a copy of this notice and l .`
a copy of the §341 or post conversion meeting notice [l_ocal Rule 1009~1(D)(2)]; and 7
4. filed an amended schedule(s) and summary of schedules

[ ] The paper filed deletes a creditor(s) as reflected on the attached list (include name and
address of each creditor being deleted). l have:
1. remitted the required fee;
2. provided notice to affected parties and
3. filed an amended schedule(s) and summary of schedules

[ ] 'l`he paper filed corrects the name and/or address of a creditor(s) as reflected on the

attached list. l have:
1. provided notice to affected parties, including service of a copy of this notice and a copy of
the §341 or post conversion meeting notice [l_ocal Rule 1009-1(D)(2)] and

2. filed an amended schedule(s) or other paper.

[ ] The paper filed corrects schedule D, E or F amount(s) or classification(s). l have:

1. remitted the required fee;
2. provided notice to affected parties and
3. filed an amended schedule(s) and summary of schedules.

[;q None of the above apply. The paper filed does not require an additional feel a supplemental
matrix, or notice to affected parties. lt lIl does l:l does not require the filing of an amended

schedule and summary of schedules.

l also certify that, if required to be filed by the Banl<ruptcy Ru|es, the official form “Declaration Concemlng
Debtor's Schedules" has been signed by each debtor as required by l_oca| Rules 1007-2(B)l 1009-1(A)(2)
and (D)(1), or 1019-1(B) andl if filed electronically Wlthout imaged signaturesl a local form "Declaration
Under Penalty of Perjury to Accompany Petitions, Schedules and Statements Filed Electronically"

accompanied the filing of the document

 

 

Joint Debtor (lf applicable)

 

 

 

PrHt Name Address

 

 

Flon'da Bar Number Phone Number

LF-4 (rev. 12/01/09)

 

 

 

 

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B 6 Summary (Otflcial Form 6 - Summary) (12/14)

UNITED STATES BANKRUPTCY CoURT

Inre r/M¢% /l/¢, Z/%/p/w , CaseNo. LIS'»Z¢§ gill
Debtor /
Chapter z

SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in eaeh. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided Add the amounts fi'om Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certa.in Liabilities and Related Data” if they file a case under chapter 7, ll, or 13.

 

A'I"l`ACHED
NAME OF SCHEDULE (YES/NO) NO. OF SHEETS ASSETS LIABILIT\ES O'I:HER

 

A - Real Property

/ ;M;Ml

 

 

B - Personal Property

*;Z,§OO, 00

 

C - Property Claimed
as Exempt

 

D - Creditors Ho|ding
Secured Claims

 

E - Creditors Holding Unsecured
Priority Claims
(Total of Claims on Schedule E)

3
/
/ $;,M,LW/.w
3 s 0

 

F - Credltors Holding UrLsecured
Nonpriority Claims

/

 

G - Executory Contracts and
Unexpired Leases

 

H - Codebtors

 

I - Cunent Income of
Individual Debtor(s)

 

s/@M,UD

J - Current Expenditures of lndividual
Debtors(s)

 

 

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B 6 Summary (Oflicial Form 6 - Surnmary) (12/14)

UNITED STATES BANKRUPTCY CoURT

Inre 401 5 ' l CaseNo. ¢J.;~£(j'§/¢?‘€
Debtor
Chapter 2
STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

lf you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (l l U.S.C.
§ 101(8)), filing a case under chapter 7, ll or 13, you must report all information requested below.

l:lCheck this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 

 

 

 

Type of Liability Amount
Domestic Suppolt Obligations (from Schedule E) $

Taxes and Certain Other Debts Owed to Govemmental Units $

(li'om Schedule E)

Claims for Death or Personal Injury While Debtor Was $

Intoxicated (from Schedule E) (whether disputed or undisputed)

 

Student Loan Obligations (fnom Schedule F) $

 

Domestic Support, Separation Agreement, and Divorce Decree $
Obligations Not Reported on Schedule E

 

 

\s§§t<§§

 

 

 

Obligations to Pension or Prof`lt-Sharing, and Other Similar $
Obligations (from Schedule F)
TOTAL $
State the following:
Average Income (from Schedule I, Line 12) $ /p/i ’dd
Average Expenses (fnom Schedule J, Line 22) $ 5'?5:¢

 

 

 

 

Current Monthly Income (from Form 22A-l Line ll; OR, Form $ /@/
22B Line l4; OR, Form 22C-l Line l4)

 

State the following:

l. Total from Schedule D, “UNSECURED POR'I'ION, IF
ANY” column

 

 

 

 

2. Total from Schedule E, “AMOUNT ENTITLED TO
PRIORITY” column.

 

3. Total from Schedule E, “AMOUNT NOT ENTITLED TO
PRIORITY, IF ANY” column

 

4. Total from Schedule F

 

5. Total of non-priority unsech debt (sum of l, 3, and 4)

 

 

 

 

 

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B6A (Ofl`lcial Form 6A) (12/07)

In re JM[ é;;ég'¢¢g!é/" ,
Debtor l

Case No. /§'

SCHEDULE A - REAL PROPERTY

@lf§/@ZOZ

(If known)

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. lnclude any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit lf the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under

“Descn`ption and Location of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and

Unexpired Leases.

If an entity claims to have alien or hold a secured interest in any property, state the arnoth of the secured claim. See Schedule D. lf no entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is tiled, state the amount of any exemption claimed in the property only in Schedule C - Property

Claimed as Exempt.

 

 

 

 

 

 

 

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D`E`Scklrrlon AND § E cURREN'r vALUE AMouNT or
LocATroN 0F NATuRE or onnron's ~§ or DEBTOR’s sEcvRED
PRoPERTY INTEREST rN PROPERTY rNTEREsT 1N cLArM
~§ PRoPERTY, wrrrrour
§ g nm)ucrrNG ANv
sscunnr) cLAlM
0R ExEMP'rroN
6 615/014 4/ A/x#/ ,
mid / 077 /w.-' //¢/¢/@/ / W% j ,
w/m/ ;Z 37/;/ j XJZZ, 3%. 00 § ;>f,z, )9%-00
row /2’%2, J’%, 00

 

 

 

(Repon also im Suminary of Schedules.)

 

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a 613 (omciai rom 63) (1207)

in re fj'?m)’ ié% l oéll/ , case No. /5: 05

Debtor L/ (lf known)

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled ‘°None.” lf additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. lf the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or ajoint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
lf the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §l 12 and Fed. R. Bankr. P. 1007(m).

 

 

§ CURRi-:NT vALUE orr
DEBTOR’S INTEREST
N § iN PRorERTY, wrrii-
TYPE OF PROPERTY O DESCRIPTION AND LOCATION _ OUT DEDUCTING ANY
N OF PROPERTY SECURED CLAIM
E g OR EXEMPTION
1. cash on hand. /
2. Checking, savings or other finan-
cial accounts, certificates of deposit
or shares iii banks, savings and loan,
thritt, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives
3. Security deposits with public util-
ities, telephone companies, land- /
lords, and others.
f‘» ngseh°*j.g°°f;“"d§‘m‘$h‘"gs- Ue/,»M .Y/¢/: /4/¢£»#/ 736/z €/)¢w' O
inc u ing au io, vi eo, an computer l
equipment ¢y CZ’l/" g 0 0 f 0 0

5. Books; pictures and other art
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6_ Wearing apparel //O/g,p¢§ +f%/)§/ _S`MJ' 6_0() ~ 00

7. Furs and jewelry l/

8. Firearms and sports, photo-
graphic, and other hobby equipment V /

9. lnterests in insurance policies
Name insurance company of each
policy and itemize surrender or 1/
refund value ofeach.

10. Annuities. ltemize and name
each issuer y

ll, Interests in an education IRA as
defined in 26 U.S.C. § 530(b)(l) or under
a qualified State tuition plan as defined iii /
26 U.S.C. § 529(b)(l). Give particulars |/
(Fi|e separately the record(s) of any such
interest(s). ll U.S.C. § 521(¢).)

 

 

 

 

 

 

 

 

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in re (/”'/’ZZC): L%/oéd) , Case No. / (o<’éd fig 21

Debtor l (lf known)

SCHEDULE B - PERSGNAL PROPERTY

(Continuation Sheet)

 

 

§ CURRENT VALUE OF
DEBTOR’S INTEREST
N § iN PROPERTY, wim-
TYPE OF PROPERTY 0 DESCRIPTION AND LOCATION _ OUT DEDUCT]NG ANY
N OF PROPERTY SECURED CLAlM
E s OR EXEMPTION
12. Interests in IRA, ERISA, Keogh, or k /
other pension or profit sharing plans l/
Give particulars
13, Stock and interests in incorporated /,
and \mincorporated bminesses. l/
Itemize.
l4. lnterests in partnerships or joint
ventures Itemize. ,/’
15. Govemment and corporate bonds
and other negotiable and non- -
negotiable instruments \‘/
16. Accounts receivable l/ /

l7. Alimony, maintenance, support
and property settlements to which the
debtor is or may be entitled. Give
particulars

18. Other liquidated debts owed to
debtor including tax refunds Give
particulars

§ Y

l9. Equitable or future interests, life
estates, and rights or powers exercisable
for the benefit of the debtor other than
those listed in Schedule A ~ Real p/
Property.

20. Contingent and noncontingent
interests in estate of a decedent, death
benefit plan, life insurance policy, or trust L' ,,

21. Other contingent and unliquidated
claims of every nature, including tax
refimds, counterclaims of the debtor, and
rights to setoff claims Give estimated V /
value of each.

 

 

 

 

 

 

 

 

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B 6B (Oflicial Form 6B) (12/07) ~ Cont.

 

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In re , Case No.
Debtor f known)
(Continuan'oo Sheet)
§ cURRENT vALUE oi-‘
g DEBTOR’S IN'I`EREST
N § iN PROPERTY, wi'i'ii-
T¥PE OF PROPERTY 0 DESCRIPTlON AND LOCATION _ OUT DEDUCT|NG ANY
N OF PROPERTY SECURED CLAlM
E g OR EXEMPTlON
22. Patents, copyrights and other /
intellectual property Give particulars \/
23. Licenses, franchises and other general
intangibles Give particulars ,
L/
24. Customer lists or other compilations
containing personally identifiable
information (as defined in l l U.S.C.
§ 101 (4lA)) provided to the debtor by
individuals in connection with obtaining a /
product or service from the debtor l/
primarily for personal, family, or
household purposes
25. Automobiles, tnicks, trailers,
and other vehicles and accessories »
(/
26. Boats, motors, and accessories /
i/
27. Aircraft and accessories /
V
28. Oflice equipment, fumishings,
and supplies /
¢/
29. Macl'iinery, fixtures, equipment,
and supplies used in business ll /
30. lnventory.
1/ /
31. Animals. /
V
32. Crops - growing or harvested
Give particulars /
l/
33. Farming equipment and implements
/
¢/
34, Farm supplies, chemicals and feed.
35. Other personal property of any kind /
not already listed. Itemize. //
continuation sheets attached Total> $ § 500 ‘ 00

(Include amounts from any continuation

sheets attached Report total also on

Summary of Schedules,)

 

 

 

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aec wmata mm 6c) (04/13)

In re </MO{ A¢/L%)LM , Case No. /J:£{{vy@ll,

Debzor afknmin)
SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under: |I| Check if debtor claims a homestead exemption that exceeds
(Check one box) $155,675.*

El ll U.S.C. § 522(b)(2)

El ll U.S.C. § 522(b)(3)

 

CURRENT
SPECIFY LAW VALUE OF VALUE OF PROPERTY
DESCR[PTION OF PROPERTY PROVIDING EACH CLAlMED WITHOUT DEDUCI'ING
EXEMFI`ION EXEMPT!ON EXEMPTION

 

 

 

 

 

 

 

* Amount subject to adjustment on 4/01/16, and every three years thereaj?er with respect to cases commenced on or aj?er the date of adjustment

 

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B 6D(OB`1cial Forrn 6D) (12/07)

  

Inre

, Case No. J‘(§/“/qué/’ZZ

(If known)

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address including zip code, and last four digits ot` any account number of all entities holding claims seemed by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens garnishments statutory liens mortgages deeds of trust, and other security interests

List creditors in alphabetical order to the extent practicable Ifa minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. Sec, ll U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”

lf the claim is contingent place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated” If the claim is disputed, place an “X” in the column labeled “Disputed.” (Y ou may need to place an “X” in more than one of
these three columns.)

Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

m Check this box if debtor has no creditors holding secured claims to report orr this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR’S NAME AND § DATE CLAIM WAS [_, § AMOUNT OF CLAIM UNSECURED
MAILING ADDRESS g § d g INCURRED, § [- Q WITHOUT PORTlON, lF
rNch)rNc zn> Cor)E AND r-. - Q § NATURE or LlEN , g § §§ DEDUCrlNG vALl)E ANY
AN ACCoUNT NUMBER § § PZ" AND § 5 § oF CoLLATERAL
(See lmtructions Above.) 8 § 5 § DESCR[PTlON Z g ,t_l)_
o v)"»O ANDVALUEOF o 2 f-'\
§ o rRoPERTY o s
SUBJECT TO LIEN
AccovNT No. 360 j 539 /£ ,
re mae AM/ W)’~§ 97/, 00
/V; , /e)/ Wd/
/M "
VALUE $
ACCoUNT No/yWéf;?
l
5/77€ /%w/¢¢€ 615
/.0, day wig/guy
' 750 5/5/’
WW'W vAwEs 5 ‘%, %F, 00
ACCOUNT NO. ’
VALUE $
continuation sheets Subt°ml ’_ $ $
attached ('l'otal of this page)
T tai b
(l‘J)se only on last page) $ / yf°!/ X%//UO $

 

 

 

(Report also on Summary of

Schedules.)

(Ifapp|icab|e, report
also on Statistical
Summary of Certain
Liabilities and Related
Data.)

 

 

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Debtor / / (i_`fknown)
SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. lri the boxes provided on the attached sheets state die name, mailing address
including zip code, and last four digits of the account number, if ariy, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's narne. See, ll U.S.C. §112 and Fed. K Banlcr. P. 1007(m).

lf any entity other than a spouse in ajoint case may be jointly liable on a claim, place an "X" in the column labeled ”Codebtor," include the
entity on the appropriate schedule of creditors and complete Schedule H-Codebtois. If ajoint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community.” If the claim is contingent place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled ”Unliquidated.” If the claim is disputed, place an "X" in the column labeled "Disputed." (Y ou may need to place an "X" in more
than one of these three columns.)

Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

Report the total of amounts L)_t entitled to priority listed on each sheet in the box labeled “Subtota|s” on each sheet. Report the total of all

amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

|:l Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PKIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
|:] Domestic Support Obligations
Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
ll U.S.C. § 507(a)(l).

|:] Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtor’s business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. l l U.S.C. § 507(a)(3).

m Wages, salaries and commissions

Wages salaries and commissions including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to 312,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in l l U.S.C. § 507(a)(4).

Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business whichever occurred first, to the extent provided in l l U.S.C. § 507(a)(5).

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment

 

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B6E (OHicial Form 6E) (04/13) - Cont.

In re (/)7-!1{/‘;\” M//)//d , Case No. /{:QZ/ggzz

Debror (/ (if/mow,,)

ij Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in ll U.S.C. § 507(a)(6).

l:l neposia by individuals

Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for persona|, family, or household use,
that were not delivered or provided ll U.S.C. § 507(a)(7).
ij Taxes and Certain Other Debts Owed to Govemmental Units

Taxes customs duties and penalties owing to federa|, state, and local governmental units as set forth in ll U.S.C. § 507(a)(8).

m Commitments to Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDIC, RTC, Director of the Ott`ice of Thiitt Supervision, Comptroller of the Currency, or Board of
Govemors of the Federal Reserve System, or their predecessors or successors to maintain the capital of an insured depository institution. ll U.S.C.
§ 507 (a)(9).
ij Claims for Death or Personal injury Whilc Debtor Was Intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance ll U.S.C. § 507(a)(10).

* Amounts are subject to adjustment on 4/0]/] 6, and every three years thereafter with respect to cases commenced on or after the date of
adjustment

continuation sheets attached

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B6E (Oflieial Form 6E) (04/13) - Cont.

In re éé% ar z €/0//7

Debtor ' /

9

Case No.

/J?@Z(%,Vz

(ifk'ww")

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(Continuation Sheet)
Type of Priority for Claims Listed on This Sheet
ul
CREDlTOR’S NAME, § l § DATE CLAIM WAS (.~ § AMOUNT AMOUNT AMOUNT
MAlL[NG ADDRESS ~ °. D [NCURRED AND § t- q OF ENTITLED NOT
INCLUDING Z.IP CODE, § § 2 CONSIDERATION 0 § § CLAlM TO ENT]TLED
AND ACCOUNT NUMBER ¢ § 2 § FOR CLAIM § ;;; b PRlORl'l"Y 1'0
(s¢¢ immqu abm) g § § 9 § PRloRrrY, ir
m ° "‘ = ANv
ca o §
§
0
U
Account No.
/) l 1 /
f
Account No. g
/
Account No. i/
Account No.
Sheet no. _ of_ condonation sheets attached to Schedule of Subtota]s> $ $
Cxeditors Holding Prion'ty Claims (Tomjs of this page)
Total> $
(Use only on last page of the completed
Schedule E. Report also on the Summary
of Schedules,)
Totals) b 4 b ' $ $

(Use only on last page of the completed
Schedule E. If applicable, report also on
the Statistical Summary of Certain
Liabilities and Related Data.)

 

 

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B 6F (oaiciai Fonn 6F) (12/07)

In re ' /¥M€.{ Dé%/W , Case No. / 6 :02/~6/1722’

(if known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition, The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §l 12 and Fed.
K Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not iit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a clairn, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is iiled, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “'I`otal” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

l] Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

r.u`
CREDITOR’S NAME, § z [_>_': DATE CLA[M WAS [_‘ g AMOUNT OF
MAILING ADDRESS g , O '_‘ INCURRED AND Z E CLA[M
INCLUDING ZlP CODE, la § i-" CONSIDERATION FOR 551 § §
AND ACCOUNT NUMBER m < § CLAIM. § 3 3
¢see tama-am above.) § § -» 3 IF CLAlM Is sUBJECT To 2 g g
0 § sEToFF, so sTATE. 3 § 5
ACCOUNT NO.
}\ /
ACCOUNT NO. \
ACCOUNT NO. /
ACCOUNT NO.
Subtotal> $
continuation sheets attached Total> $
(Use only on last page of the completed Schedule F_)
(chort also on Summary of Schedules and, if applicable, on the Statistical
Summary of Certain Liabilities and Related Data.)

 

 

 

 

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B 60 (ofaciar Form §G) (12/07) j _'
ln re §jA'/WF.( LA/¢'//)AW , Case No. f g l Q/,é 2’%
Debtor 'M (ir known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXP[RED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. lnclude any timeshare
interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C. §112 and
Fed R Bankr. P. 1007(m).

i:| Check this box if debtor has no executory contracts or unexpired leases.

 

NAME AND MAILlNG ADDRESS, DESCR[PTION OF CON'I'RACT OR LEASE AND
[NCLUD[NG ZIP CODE, NATURE OF DEBTOR’S lNTEREST. STA'I'E
OF OTHER PARTIES TO LEASE OR CONTRACT. WHETIIER LEASE lS FOR NONRESIDENTIAL

REAL PROPERTY. STA'I'E CONTRACT
NUMBER OF ANY GOVERNMENT CONTRACT.

 

 

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/2:;:/¢/::::%5 ¢/QWZ' z/v;o' 300/§0°§9/,2

ind /%’é@¢€ €0//' 5 //w)¢/Mo/s'a/ /"W?Lé
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few/77 /_,|/, 752/4'/¢?6?>

 

 

 

 

 

 

 

 

 

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B 6H (ofnciar Fonn srr) (12/07)

In re ‘ /f@‘€! é:&/é,LZ/g , Case No. /if:%fy/?Z

Debtor (if known)

SCHEDULE H - CODEBTORS

Provide the information requested coneeming any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors lnclude all guarantors and co-signer's. If the debtor resides or resided in a community property state,
commonwealth or territory (including Alaska, Arizona, Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, 'l`exas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. lnclude all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case, If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian" Do not disclose the
child's name. See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

|:| Check this box if debtor has no codebtors.

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

 

 

 

 

 

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Fil| m this iiifurliiat\oii to identify your case

oebtori ~ M l/&' ¢;¢M'
F| ibm ' Me

 

 

 

 

 

motor 2
(Spouae. itiling) nmu-mn meachum tam-mo
unitod status Bonkmptoy court for ttto; ` ‘ nlstnct or M
cm number /t-i'- 353/32 check if this is:
(lf known)
I:I An amended tiling
m A supplement showing post-petition
chapter 13 income as of die following date:
OfflClal FOl'm B 6| MM/oo/YYYY
Schedule l: Your income mta

 

Bo as complete and accurate as possible iftwo married people are filing together (Dobtor 1 and Dobtor 2), both are equally responsible for
supplying correct |nfonnation. if you are married and not filing jolnt.ly, and your spouse is living with you, include Information about your spouso.
if you are separated and your spouse is not filing with you, do not include information about your spouso. if more space is noeded, attach a
separate sheet to this form. On the top of any additional pagos, writs your name and case number (if knovm). Answor every question

Part 1: Describe Employment

1. Fi|| in your employment

 

 

 

 

 

 

 

lnf°mauon_ Debtor 1 Dohwr 2 or non-filing spouse
If you have more than one job.
attach a separate page with
information about additional E"'P'°Y"‘°"* m m E'"Pl°¥ed m E"'P‘°¥ed
employers 112wa ['_'| Not employed
include part-time. seasonal, or /6¢;
self-employed work. »» ' v /
. Occupation '- /Lj /‘?
Occupation may include student
or homemaker, if it applies.
Employer‘a name A///q . -
/
Employor'o address /1/ /l@
Number /§tree't Number Slreet
City stale zlP code city state zlP code

How long employed thore?

Give Dotalla About Monthly lncome

Estimaw monthly income as of the data you tile this for'm. |f you have nothing to report for any line, write $0 in the space. include your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one empioyer, combine the information for all employers for that person on the lines
below. lf you need more spaoe, attach a separate sheet to this fomt.

ForDehtor1 ForDohtorzor

 

 

non-filing spouse
2. List monthly gross wagos, salary, and commissions (before all payroll
deductions). if not paid monthly, calculate what the montth wage would be. 2. s g s
3. Estimate and list monthly overtime pay. 3. + 5 § 2 + 5
4. Calculate gross income. Add line 2 + line 3. 4. $ Q $

 

 

 

 

 

Oflidal Form B 6| Schedule l: Youi’ lncome Page 1

11.

12.

Ofliciai Form B 6|

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Case numberrirum) j d:%Jé/IZ'€

11 dr ja /jd/g_;/,o

Hrat Nune Mid¢leName

Copy line 4 here ............................................................................................ -) 4.

5. List ali payroll deductions:

5a 'l'ax, Medlcare, and Social Securtty deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Requlred repayments of retirement fund loans
5e. insurance

5f. Domestic support obligations

5g. Union dues
5h. Other deductions Specify:

 

6. Add the payroll deductions Add lines 5a + 5b + 50 + 5d + 5a +51+ 5g +5h.
7_ Caiculaiie total monthly take-home pay. Subtract line 6 from line 4.

a_ List all other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
reoeipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. interest and dividends

5a.
5b.
50.

-‘-".3`.33

Si?-i`

8a.
8b.

80. Famliy support payments that you, a non-iiiing spouse, or a dependent

regularly receive

include alimony, spousal support, child support, maintenanoe, divorce
settlement, and property settlement.

Unemp|oyment compensation
Social Security

8f. Other government assistance that you regularly receive

.$’S

80.

Bd.
Se.

include cash assistance and the value (if known) of any non-cash assistance

that you reoeive, such as food stamps (benelits under the Suppiemental
Nutrition Assistance ngram) or housing subsidies.

Specify'.

 

Bg. Pension or retirement income

8h. Other monthly income. Specify:

 

9. Add all other income. Add lines 8a + 8b + 80+ Bd + 8e + 8f +89 + 8h.

10. Caicuiate monthly income. Add line 7 + line 9.

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-liling spouse.

ar.
ag.
8h.

9.

10.

 

 

 

 

 

 

 

 

 

 

ForDobtor1 ForDebtor2or
Miaa.snmas_

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$__O_ $
$_D____ s

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$_L s
$___O__ s
$__Q__ $
+$,_Q_ +$

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+$_CL_ +$

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State all other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partner, members of your househo|d, your dependents, your roommates, and

other friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

11.+$ ¢)

Specify:

 

Add the amount in the last column of line 10 to the amount in line 'l'l. The result is the combined monthly income.

Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Daia, if it applies

13.Eyou expect an increase or decrease within the year after you file this form?

No.

12_

g £UJU,OO `

Combined
monthly income

 

 

 

 

 

EVes.Explain: ` 7* 250 ii é`/£ )

Schedule l: Your income

page 2

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'l

 

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Flll m this information to identify your Ca€»cz'

D 1 mm Mm/;fm Z/'E¢ v /d Check lf this is:
Debtor2 .
(Spouse, lftiling) FlmNnme MiddeN-m mm EAn amended filan

 

v _ m A supplement showing post-petition chapter 13
u"'°°d Sm°‘ B°"k'“pt°¥ C°“" '°" "‘°¢ --_ D'st"d °'_ expenses as of the following date:

Case number /\§;dtj Z/Z¢z W m

(11 known)
|:]A separate ming for Debtor 2 because Debtor 2
maintains a separate household

 

Ofticia| Form B 6J

Schedule J: Your Expenses 1213

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
|nfonnatlon. lf more space ls needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Part 1: Descrlbe Your Household

1. ls this a ]o|nt case?

m No. Go to line 2.
m Yes. ones comm 2 live in a separate household?

ENo

EYes. Debtor 2 must file a separate Schedule J.

 

 

 

 

 

 

 

2. Do you have dependenis? m N°
Dependent’s relationship to Dependent's Does dependent live
D° not list D€bel' 1 and m Yes. Fi|| out this information for D°M°' 1 °f °°b¢°' 2 190 WW\ ¥0"?
Debel' 2. each dependent .......................... _
Do not state the dependents’ g N°
names. Yes
[__.] No
m Yes
m No
Yes
No
Yes
l:l No
|Il Yes
3. Do your expenses include No
expenses of people other than

_v<,>,ur»lf_a,n_¢! y<>_ur.,d?nsn¢ene_?_._ , ,_Y,°¥

Estlmate Your ongoing Monthly Expenses
Estlmate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. Ifthls ls a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
lnclude expenses paid for with non-cash government assistance if you know the value

of such assistance and have included it on Schedule I: Your Income (Offlcial Form B 6|.) Y°"" am
4. The rental or home ownership expenses for your residence. include first mortgage payments and
$_M
any rent for the ground or |ot. 4.

lf not included in line 4:

4a. Real estate taxes 4a. $ § )
4b. Pmperly, homeowners or renter's insurance 4b. $ f 2
4c. Horne maintenance, repair. and upkeep expenses 4c. $ § 2
4d. Homeowner's association or condominium dues 4d. $ f 2

Oflicia| Form B 6J Schedule J: ¥our Expenses page 1

 

10.

11.

12.

13.

14.

15.

16.

17.

18.

19.

20.

Of|icia| Form B 6J

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Debtor 1 " t /é

. Additional mortgage payments for your residence, such as home equity loans

. Utilitles:

Sa. E|ectricity, heat, natural gas

sb. Water, sewer, garbage collection

6c Te|ephone, cell phonel lntemet, satellite, and cable services
6d. Other, Specify:

 

. Food and housekeeping supplies

. Chlldcare and chlldren’s education costs
. C|oth|ng, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transponation. lnclude gas. maintenanoe. bus or train fare.
Do not include car payments

Entertainment, clubs, recreation, newspapers, magazines. and books
Charitable contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance

15b. Health insurance
15¢. Vehicle insurance
15d. Otherinsurance.Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17a. Other. Specify:
17d. Other. Specify:

 

 

Your payments of alimony, malntenance, and support that you did not report as deducted

from your pay on line 5, Schedule I, Your Income (thcial Form B 6|).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule i: Your Income.

zoa. Mortgages on other property

zob. Real estate taxes

zoc. Property, homeowners or renters insurance
20d. Maintenance. repair, and upkeep expenses

zoe. Homeowners association or condominium dues

Schedule J: Your Expenses

Case number crim~m

/f~M//M

10.

11.

12.

13,

14.

158.
15b.
15<:.

15d.

17a.

17b.

17c.

17d.

18.

19.

203.

20b.

20a

20d.

20€.

Your expenses

$__U____

§§@WUO

 

page 2

CaSe 15-25422-RA|\/| DOC 14

Debtor1 '

21. Other. Specify:

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hhsz

Case number (irkmwn)

21. +$ 0

 

22. Your monthly expenses. Add lines 4 through 21.
The result is your monthly expenses.

23. Celculete your monthly net income.
23a. Copy line 12 (your combined montth income) from Schedule l.

23b. Copy your monthly expenses from line 22 above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monb‘rly net income.

 

 

23a_
23b. __$ 54¢‘£ 00
23¢. $ ' 00

 

 

 

24. Do you expect en increase or decrease in your expenses within the year after you tile this fonn?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

m No.
m ¥es.

Exp|ain here:

a 1 /W/ /4@_»1<)_`

Ofticia| Form B 6J

Schedule J: Your Expenses

page 3

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, ( age No_ /

rim n

lore

   

Debtor

DECLARATION CONCERNING DEBTOR'S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of sheets, and that they are true and correct to the best of
my lmow|cdge, information, and belief.

y////f wm
/ /

Date Signatune:
f (Joint Debtor, if any)

[If joint case, both spouses must sign.]

 

 

 

DECLARATION AND SIGNATURE OF NON-A'I'I`ORNEY BANKRU¥!`CY PETITION PREPARER (See ll U.S.C. § 110)

l declare under penalty of perjury that: (l) l am a bankruptcy petition preparer as defined in l l U.S,C. § l 10; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under ll U.S.C. §§ llO(b), llO(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuar\t to ll U.S.C. § l lO(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before prepming any document for filing for a debtor or accepting any fee from the debtor, as required by that section

 

Printed or Typed Name and Tit.le, if any, Social Secuxity No.
of Bankruptcy Pctition Preparer (Required by l] U.SC. § 110.)

Ifthe bankruptcy petition preparer is nor an individual, slate the name, title {lf¢my). address, and social security number of the ojicer, principal, responsible person, or partner
who signs this document

 

 

Addrcss

X
Signature of Bankruptcy Petition Preparer Date

 

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is not an individua|:

]fmore rh¢m one person prepared rhis document, attach additional signed sheels conforming to the appropriate Ojicial F orm for each person.

A bankruptcy petition prepar¢r'.\' failure ro comply wilh Ihe provisions of rille 11 and lhe Fedeml Rule.r of Banb'uprcy Pracedure may result in fines or imprisonment ar borh. 11 U.S.C. § 110,‘
18 U.S.C. § 156.

 

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

 

 

I, the [the president or other o&'icer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of sheets (Toral shown on summary page plus 1 ), and that they are true and correct to the best of my

imowiedge, information, and belief.

Date

 

Signature:

 

 

[Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation mint indicate position or relationship to debror.]

 

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

 

 

 

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37 (omciar Form 7) (04/13)

UNITED STATES BANKRUPTCY CoURT

 

Inre: m/)¢//Itd’ M/O/j//// m CaSeNo. Ltl“§¢l §@
minor ’ f rrmovm)

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor, Spouses filing ajoint petition may file a single statement on which
the information for both spouses is combirred. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, farnin farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U.S.C.
§112 and Fed. R. Bankr. P. 1007(m).

Questions l - 18 are to be completed by all debtors Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If` the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question

DEFINITIONS

"In business " A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an ofiicer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a parmership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment

"Insider. " The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an ofiicer, director, or person in control; ofiicers, directors, and any persons in
control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
me debtor. 11 U.s.c. § 101(2), (31).

 

l. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment trade, or profession, or from operation of
the debtor’s business, including part-time activities either as an employee or in independent trade or business, from the
beginning of this calendar year to the date this case was commenced State also the gross amounts received during the
two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
the basis of a fiscal rather than a calendar year may report fiscal year income. identify the beginning and ending dates
of the debtor’s fiscal year.) If ajoint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not ajoint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

 

 

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B7 (Ofl'lcial Form 7) (04/13)

2. lncome other than from employment or operation of business

None State the amount of income received by the debtor other than from employment trade, profession, operation of the

E debtor’s business during the two years immediately preceding the commencement of this case. Give particulars lf a
joint petition is filed, state income for each spouse scparately. (Married debtors filing under chapter 12 or chapter 13
must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

AMOUNT _Z//U@g, 00 ' soURCE fac//}/ 5/2¢¢/// 751
/M MU¢/N

 

3. Payments to creditors
Conplete a. or b., as apprapriate, and c.

None

m/ a Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
lndicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
whether or not a joint petition is tiled, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMEN'I`S PAID STlLL OWING

None

E/b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
constitutes or is affected by such transfer is less than $6,225°. lf the debtor is an individual, indicate with an asterisk
(*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
not a joint petition is tiled, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDlTOR DATES OF AMOUNT AMOUNT
PAYMEN'I`S/ PAlD OR STILL
TRANSFERS VALUE OF OWING
TRANSFERS

 

.Amount Subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or
afer the date of adjustment

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B7 (Official Form 7) (04/13) 3

None

U/` c. All debtors: List all payments made within one year immediately preceding the commencement of this case
to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and

a joint petition is not filed.)
NAME AND ADDRESS OF CREDITOR DATE OF AMOUNT AMOUNT
AND RELATIONSHIP TO DEBTOR PAYMENT PAID STILL OWING

 

4. Suits and administrative proceedings, executions, garnishments and attachments

None a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
preceding the filing of this bankruptcy case, (Married debtors filing under chapter 12 or chapter 13 must include
information concerning either or both spouses whether or not a joint petition is tiled, unless the spouses are separated
and ajoint petition is not filed.)

CAPTION OF SUlT NATURE OF COURT OR AGENCY STATUS OR
AND CASE NUMBER PROCEEDING AND LOCATION DISPOSITION

None b. Describe all property that has been attached, garnished or seized \mder any legal or equitable process within one
year immediately preceding the commencement of this case, (Married debtors filing under chapter 12 or chapter 13
must include information conceming property of either or both spouses whether or not ajoint petition is filed, unless
the spouses are separated and ajoint petition is not filed.)

NAME AND ADDRESS DA'I'E OF DESCRIPTION
OF PERSON FOR WHOSE SEIZURE AND VALUE
BENEFIT PROPERTY WAS SEIZED OF PROPERTY

 

5. Repossessions, foreclosures and returns

None ist all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu

|E/i;f foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not ajoint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DA'I'E OF REPOSSESSION, DESCRIPTION
OF CREDlTOR OR SELLER FORECLOSURE SALE, AND VALUE
TRANSFER OR RETURN OF PROPERTY

 

 

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unofficial Form 7) (04/13) 4
6. Assignments and receiverships
a. Describe any assignment of property for the benth of creditors made within 120 days immediately preceding the

commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and ajoint petition is not

filed.)
NAME AND ADDRESS DATE OF TERMS OF
OF ASSIGNEE ASSIGNMENT ASSIGNMENT

OR SET'['LEMENT

None b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
immediately preceding the commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of either or both spouses whether or not ajoint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

 

NAME AND ADDRESS NAME AND LOCAT[ON DATE OF DESCRIPT[ON
OF CUSTODIAN OF COURT ORDER AND VALUE

CASE TITLE & NUMBER Of PROPERTY
7. Gifts

List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
except ordinary and usual gifts to farnin members aggregating less than $200 in value per individual family member
and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

 

NAME AND ADDRESS RELATIONSHIP DATE DESCRIPTION
OF PERSON TO DEBTOR, OF GIFT AND VALUE
OR ORGANlZATION IF ANY OF GIFT

8. Losses

List all losses from fire, theR, other casualty or gambling within one year immediately preceding the commencement
of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a

joint petition is not filed.)
DESCRIPTION DESCRIPTION OF CIRCUMSTANCES AND, IF DATE
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART OF LOSS

PROPERTY BY INSURANCE, GIVE PARTlCULARS

 

 

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9. Payments related to debt counseling or bankruptcy

 

None List all payments made or property transferred by or on behalfof the debtor to any persons, including attorneys, for
consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
within one year immediately preceding the commencement of this case.

NAME AND ADDRESS DATE OF PAYMEN'I`, AMOUNT OF MONEY OR
OF PAYEE NAME OF PAYER IF DESCRIPTION AND 2 5" 03
, ga/ / OTH]E`,R THAN DEBTOR VALUE OF PROPERTY ’
efqu orr w
4 ’4)“9""1§ 5 O/r
/” erc/my
10. Other transfers
None
a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
whether or not ajoint petition is liled, unless the spouses are separated and ajoint petition is not filed.)
NAME AND ADDRESS DATE DESCRIBE PROPERTY
OF TRANSFEREE, TRANSFERRED AND
RELATIONSHIP TO DEBTOR VALUE RECEIVED
None

b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
to a self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF 'I`RUS'I` OR OTHER DATE(S) OF AMOUNT OF MONEY OR DESCRIPTION
DEVICE TRANSFER(S) AND VALUE OF PROPERTY OR DEBTOR`S
INTEREST IN PROPERTY

 

None

11. Closed Enancia| accounts

List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. lnclude
checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
institutions (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
instruments held by or for either or both spouses whether or not ajoint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

NAME AND ADDRESS TYPE OF ACCOUNT, LAST FOUR AMOUNT AND
OF INSTITU"HON DIGITS OF ACCOUNT NUMBER, DATE OF SALE
AND AMOUNT OF FINAL BALANCE OR CLOSING

 

 

 

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12. Safe deposit boxes

List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include boxes or depositories of either or both spouses whether or not ajoint petition is filed, unless
the spouses are separated and ajoint petition is not filed.)

NAME AND ADDRESS NAMES AND ADDRESSES DESCRIPTlON DATE OF TRANSFER
OF BANK OR OF THOSE WITH ACCESS OF OR SURRENDER,
OTHER DEPOSITORY TO BOX OR DEPOSITORY CONTENTS IF ANY

 

13. Setoff's

, List all setoffs made by any creditor, including a bank, against a debtor deposit of the debtor within 90 days preceding

the commencement of this case, (Married debtors filing under chapter 12 or chapter 13 must include information
concerning either or both spouses whether or not ajoint petition is filed, unless the spouses are separated and ajoint
petition is not filed)

NAME AND ADDRESS DATE OF AMOUNT
OF CREDITOR SETOFF OF SETOFF

 

Non

14. Property held for another person

List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS DESCRIPTION AND LOCATION OF PROPERTY
OF OWNER VALUE OF PROPERTY

 

None

15. Prior address of debtor

If debtor has moved within three years immediately preceding the commencement of this case, list all premises
which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
filed, report also any separate address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

 

 

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None

16. Spouses and Former Spouses

If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, An`zona,
Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of

any former spouse who resides or resided with the debtor in the community property state.

NAME

 

None

None /

None

l7. Environmental Information.
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
other mediurn, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
or material.

"Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

"Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, or contaminant or similar term under an Environmental Law.

a. List the name and address of every site for which the debtor has received notice in writing by a governmental
unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
governmental unit, the date of the notice, and, if known, the Environmental Law:

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice,

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNlT NOTICE LAW

c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
to the proceeding, and the docket number.

NAME AND ADDRESS DOCKET NUMBER STATUS OR
OF GOVERNMENTAL UNIT DISPOSITION

 

N one

18 . Nature, location and name of business

a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or

 

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other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
the commencement of this case.

lf the debtor is a partnership, list the narnes, addresses, taxpayer-identification nurnbers, nature of the businesses, and
beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
voting or equity securities, within six years immediately preceding the commencement of this case.

lf the debtor is a corporation, list the names, addresses, taxpayer-identification nurnbers, nature of the businesses, and
beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
voting or equity securities within six years immediately preceding the commencement of this case,

NAME LAST FOUR DIGITS ADDRESS NATURE OF BUSINESS BEGINNING AND
OF SOCIAL-SECURITY ENDING DATES
OR OTHER INDIVIDUAL
TAXPAYER-LD. NO.
(ITl`N)/ COMPLETE EIN
None b. Identif`y any business listed in response to subdivision a., above, that is "single asset real estate" as
E/ defined m 11 U.s,c. § 101.
NAME ADDRESS

 

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
ofiicer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)

 

19. Books, records and financial statements

a_ List all bookkeepers and accountants who within two years immediately preceding the filing of this
bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED

b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
case have audited the bools of` account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES RENDERED

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None c. List all firms or individuals who at the time of the commencement of this case were in possession of the
books of account and recortk of the debtor, If any of the books of account and recortk are not available, explain.

NAME ADDRESS

None d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS DATE lSSUED

 

20. Inventories

None a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
taking of each inventory, and the dollar amount and basis of each inventory.

DATE OF [NVENTORY ].`NVENTORY SUPERVISOR DOLLAR AMOUNT
OF INVENTORY
(Speeify cost, market or other basis)

None ' b. List the name and address of the person having possession of the recch of each of the inventories reported
' in a., above.

DATE OF INVEN'I`ORY NAME AND ADDRESSES
OF CUSTODIAN
OF INVEN'I`ORY RECORDS

 

21 . Current Partners, Off'ieers, Direetors and Shareholders

None a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the

|:,}/ partnership
NAME AND ADDRESS NATURE OF INTEREST PERCEN'I`AGE OF INTEREST

None b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
corporation.

NATURE AND PERCEN'I`AGE
NAME AND ADDRESS TITLE OF STOCK OWNERSH]P

 

 

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22 . Former partners, officers, directors and shareholders

one a lf the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
preceding the commencement of this case.

NAME ADDRESS DATE OF WITHDRAWAL

N c b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
j/ within one year immediately preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION

 

23 . Withdrawals from a partnership or distributions by a corporation

None If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
during one year immediately preceding the commencement of this case,

NAME & ADDRESS DATE AND PURPOSE AMOUNT OF MONEY
OF RECIPIENT, OF WITHDRAWAL OR DESCRIPTION
RELATIONSHIP TO DEBTOR AND VALUE OF PROPERTY

 

24. Tax Consolidation Group.

None If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
consolidated group for tax purposes of which the debtor has been a member at any time within six years
immediately preceding the commencement of the case,

NAME OF PARENT CORPORATION TAXPAYER-IDENTIFICATION NUMBER (EIN)

 

25. Pension Funds.

None If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
preceding the commencement of the case,

NAME OF PENSION FUND TAXPAYER-IDENTIFICATION NUMBER (EI`N)

******

[ If completed by an individual or individual and spouse ]

 

 

 

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B7 (Off`icial Form 7) (04/ 13) l l

I declare under penalty of` perjury that I have read the answers contained in the foregoing statement of` financial affairs
and any attachments thereto and that they are true and correct.

Date 9 // /§/ signature ofDebmr

 

 

Date Signature of` Joint Debtor (if` any)
r

 

[If completed on behalf of a partnership or corporm`on]

l declare under penalty of perjury that l have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto and that they are true and correct to the best of my knowledge, information and belief.

Date Signature

 

Print Name and Title

 

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

__continuation sheets attached

Penaltyfur making a false statement Fine of up to $500,000 or imprisonment for up to 5 yean, or both 18 U.S.C. §§ 152 and 35 71

 

DECLARATION AND SIGNATURE OF NON-A'l'l`ORNEY BANKRUPTCY PETl'l'ION PREPARER (See 11 U.SC. § 110)

l declare under penalty ofperjury that; (l) l am a bankruptcy petition preparer as defined in ll U.S.C. § 110; (2) l prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under l l U.S.C. §§ l lO(b), l lO(h), and
342(b); and, (3) if niles or guidelines have been promulgated pursuant to ll U.S.C. § llO(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, l have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from
the debtor, as required by that section

 

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social-Security No. (Required by l l U.S,C. § l 10.)

If the bankruptcy petition preparer is not an individual state the name, title (ifany), address, and social-security number of the ojicer, principal,
responsible person, or partner who signs this document

 

Address

 

Signature of Bankruptcy Petitior\ Preparer Date

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

lf more than one person prepared this document, attach additional signed sheets confomiing to the appropriate Official Form for each person

A bankruptcy pedtlon pr¢parer's failure to comply with the provisioth of title II and the F ederal Rules of Bankruptcy Pmcedure may result in
fines or imprisoan or both. 18 U.S.C. § 156.

 

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B s (omciar Form 8) (12/08)

UNITED STATES BANKRUPTCY COURT

In re §`Z/?‘MQ§ Z[Z§/é¢%ll/ ,

Debtor

422

Case No. J:
Chapter 7

CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF [NTENTION

PART A - Debts Secured by property Of the estate (Part A must be fillly completed for EACH debt which is
secured by properly of the estate. Attach additional pages if necessary )

 

 

 

 

Cl Redeem the property
Cl Reatiirrn the debt
Cl Other. Explain

lf retaining the property, l intend 10 (check at least one)Z

Property No. l
Creditor's Name: EWC/ MW/$F "L Describe Property Securin Debt: 6 B/E@¢gg///
jA-/Q)// W/;¢C %/iw(/ 4/@,7{¢’ Jw/mv/@t évl/ '7w0 572/65
M/Z
property Will be (check one)l
13 Surrendered B{etained

(for example, avoid lien

 

using ll U.S.C. § 522(f)).

 

 

 

 

 

Cl Redeem the property
Cl Reaffirm the debt
Cl Other. Explain

lf retaining the property, l intend tO (check at least one)Z

property iS (check one)Z
Cl Claimed as exempt Mot claimed as exempt
Yroperfy NO. 2 (¢fnecessaty)
Creditor's Name: Describe Property Securing Deth
FrOperfy Will be (check one)l
Cl Surrendered Cl Retained

(for example, avoid lien

 

using 11 U.s.c. § szz(r)).

property lS (check one)t
Cl Claimed as exempt

 

Cl Not claimed as exempt

 

 

 

 

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B 8 (omcial Form 8) (12/08)

Page 2

PART B - Personal property subject to unexpired leases. (All three columns ofParr B must be completed for

each unexpired lease. Attach additional pages ifnecessaiy.)

 

Property No. l

 

Lessor’s Name: Describe Leased Property:

 

Lease will be Assumed pursuant
to ll U.S.C. § 365(p)(2):
[J YES [J NO

 

 

 

Property NO. 2 (ifnecessary)

 

Lessor’s Name: Describe Leased Property:

 

Lease will be Assumed pursuant
to ll U.S.C. § 365(p)(2):
CI YES CI NO

 

 

 

Property No. 3 (ifnecessary)

 

Lessor’s Name: Describe Leased Property:

 

 

 

Lease will be Assumed pursuant
to ll U.S.C. § 365(p)(2):
CI YES CI NO

 

 

continuation sheets attached (ifany)

I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.

 

Date: 9[ 7/72 `/6/
Signature of Debtor

 

Signature of Joint Debtor

 

 

 

 

